                      Case 4:22-mb-07257-JR Document 2 Filed 06/28/22 Page 1 of 1
Seizure Warrant Return(Rev 03/13)
                                                                                        FILED            LODGED
                                                       Return
 Case No.:        22-07257MB
                                                                                      Jun 28 2022
                                                                                        CLERK U.S. DISTRICT COURT
                                                                                           DISTRICT OF ARIZONA
DATE WARRANT                        DATE AND TIME                   COPY OF WARRANT AND RECEIPT FOR
RECEIVED                            WARRANT EXECUTED                ITEMS LEFT WITH




INVENTORY MADE IN THE PRESENCE OF




INVENTORY OF PROPERTY SEIZED PURSUANT TO THE WARRANT


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 p




                                                  Certification


    I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to
 the designated judge.



      Date:
                             tOZT-
                                                                    Executing Officer's Signature



                                                                  56_£»lAgiw
                                                                    Printed Name and Title
